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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION


  UNITED STATES OF AMERICA,                        CR 23-62-BLG-SPW


                        Plaintiff,
                                               ORDER SETTING
           vs.                                 SENTENCING

  JAROD VAHRE MILLAR,

                         Defendant.


      Defendant entered his plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on July 25,2023. United States Magistrate Judge Timothy

J. Cavan entered Findings and Recommendation in this matter on July 25, 2023

(Doc. 28). No objections having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations(Doc. 28)are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Tuesday, November 21,2023 at 9:30 a.m., in

the James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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